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CERTIFICATE OF SERVICE

I, the undersigned, hereby certify that on the 20" day of August, 2009, I caused a copy of the
Objection of Maryland Casualty Company to BNSF Railway Company’s Confidential
Initial Deposition Designations ef Testimony of Jeffrey Posner, Richard Finke, Jay Hughes,
and Peter Van N. Lockwoed and to the Libby Claimants’ Notice of Filing Transcript and
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